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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    KOHEN DIALLO UHURU,                               No. 2:20-cv-00694 GGH P
12                       Petitioner,
13           v.                                         ORDER
14    THE PEOPLE OF THE STATE OF
      CALIFORNIA,
15
                         Respondent.
16

17          Petitioner, a state prisoner proceeding pro se, has filed in this district court a “Notice of

18   Appeal” with the Ninth Circuit after a decision by state courts concerning resentencing under

19   state law. As far as the undersigned can determine, there have been no federal district court

20   decisions upon which an appeal to the Ninth Circuit can be taken. The most likely interpretation

21   of this document is that petitioner desires to file a writ of habeas corpus pursuant to 28 U.S.C. §

22   2254 in federal court. Petitioner has not paid the filing fee or submitted a request to proceed in

23   forma pauperis.

24          The application attacks a resentencing determination emanating from the San Diego

25   County Superior Court. While both this court and the United States District Court in the district

26   where petitioner was convicted have jurisdiction, see Braden v. 30th Judicial Circuit Court, 410

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Case 3:20-cv-00746-CAB-RBM Document 3 Filed 04/20/20 PageID.145 Page 2 of 2



 1   U.S. 484 (1973), any and all witnesses and evidence necessary for the resolution of petitioner’s
 2   application are more readily available in San Diego County. Id. at 499 n.15; 28 U.S.C. § 2241(d).
 3          Accordingly, in the furtherance of justice, IT IS HEREBY ORDERED that this matter is
 4   transferred to the United States District Court for the Southern District of California.
 5   Dated: April 20, 2020
                                                 /s/ Gregory G. Hollows
 6                                       UNITED STATES MAGISTRATE JUDGE
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